       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Virginia Board of Medicine
       v. John Henry Hagmann, M.D.
       Record No. 1281-16-2
       Opinion rendered by Judge Decker on
        March 21, 2017

    2. Crystal Ann Coomer
       v. Commonwealth of Virginia
       Record No. 1017-16-3
       Opinion rendered by Judge Humphreys on
        April 4, 2017

    3. Najee Finique Hairston
       v. Commonwealth of Virginia
       Record No. 0714-16-3
       Opinion rendered by Judge Decker on
        April 11, 2017
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:


1. Lashant Leonardo White
   v. Commonwealth of Virginia
   Record No. 0767-15-1
   Opinion rendered by Judge Decker
     on May 10, 2016
    Judgment of Court of Appeals reversed and final judgment entered reinstating
      conviction; remainder of opinion vacated as moot by opinion rendered on
      June 1, 2017 (160879)

2. Lamarr Ramon Masean Smith
   v. Commonwealth of Virginia
   Record No. 1117-15-1
   Opinion rendered by Chief Judge Huff
    on May 17, 2016
   Refused (160799)

3. Donald Keith Epps
   v. Commonwealth of Virginia
   Record No. 0148-15-3
   Opinion rendered by Judge O’Brien
    on May 31, 2016
   Judgment of Court of Appeals affirmed by opinion rendered
     on June 1, 2017 (161002)

4. Wayne Antonio Bland, Jr.
   v. Commonwealth of Virginia
   Record No. 0864-15-2
   Opinion rendered by Judge Chafin
    on June 7, 2016
   Refused (161003)

5 Melanie Lynn Rhodes
   v. Delmar Lang and Susan Lang
   Record No. 0263-16-2
   Opinion rendered by Judge Beales
    on November 8, 2016
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (161754)
      On June 1, 2017 the Supreme Court issued opinions in the following cases, which had
been appealed from this Court:

   1. Matthew Fitzgerald Hackett
      v. Commonwealth of Virginia
      Record No. 0084-15-3
      CAV petition for appeal denied by Judge Decker on September 14, 2015
        and by Judges Beales, Decker and AtLee on December 15, 2015
      Judgment of Court of Appeals affirmed
      (160619)

   2. Mark Thomas Howsare
      v. Commonwealth of Virginia
      Record No. 0106-15-1
      CAV petition for appeal denied by Judge Petty on September 21, 2015
        and by Judges Humphreys, McCullough and Senior Judge Haley on February 16, 2016
      Judgment of Court of Appeals affirmed
      (160414)
